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The following constitutes the ruling of the court and has the force and effect therein described.


Signed February 18, 2021
                                            United States Bankruptcy Judge
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     IN RE:                                              §        CHAPTER 11
                                                         §
     NATIONAL RIFLE ASSOCIATION                          §        CASE NO. 21-30085-hdh11
     OF AMERICA and SEA GIRT LLC,                        §
                                                         §
               DEBTORS1                                  §        Jointly Administered


         ORDER GRANTING DEBTORS’ MOTION FOR LEAVE TO FILE UNDER SEAL
           CERTAIN PORTIONS OF AND EXHIBITS TO DEBTORS’ RESPONSE TO
               CHRISTOPHER COX MOTION TO SEAL [DOCKET NO. 121]

               Having considered the Debtors’ Motion to Seal [Docket No. 123]; and this Court having

     jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found

     that this is a core proceeding pursuant to 28 U.S.C. § 157(b) and that this Court may issue a final

     order consistent with Article III of the United States Constitution; and adequate notice of the

     Motion to Seal having been given under the circumstances; and the Court having reviewed and




     1
      The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
     Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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considered the Motion to Seal and any objections thereto; and after due deliberation and sufficient

cause appearing therefore; it is hereby ORDERED that:


          1.    The Motion to Seal Certain Portions of Debtors’ Opposition to Motion of
                Christopher W. Cox to Modify the Automatic Stay (the “Opposition”), which was
                previously filed in redacted form as Docket No. 121, is GRANTED.

          2.    Debtors are authorized to file certain portions of the Opposition and certain
                exhibits to the supporting Declaration under seal.

                                   # # # END OF ORDER # # #

Order Prepared By:

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